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                                        178590



                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                     Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  ANAH NORMAN
  Case No. 3:24-CV-03525



                                   NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand was filed on 03/17/2024 on behalf

 of Anah Norman.


 DATED: 04/04/2024                           Respectfully submitted,

                                             By: /s/ Daniel J. Thornburgh

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                                            178591


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 04/04/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

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